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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS


 JOSEPH COLLORA, individually and on
 behalf of all others similarly situated,          Case No.: 1:22-cv-1904

                Plaintiff,
                                                   JOINT STATUS REPORT
 v.

 MCDONALD’S CORPORATION,

                Defendant.


                                   JOINT STATUS REPORT

       Pursuant to the May 17, 2022 Minute Entry of the Court (Dkt. No. 10), Plaintiff Joseph

Collora (“Plaintiff”) and Defendant McDonald’s Corporation (“Defendant”) (collectively, “the

Parties”), by and through their respective counsel, hereby submit this Joint Status Report.

       On April 13, 2022, Plaintiff filed his complaint. Dkt. No. 1. A summons was issued on

April 19, 2022. On April 20, 2022, a Waiver of the Service of Summons was sent to counsel for

Defendant, who returned it on April 21, 2022. Dkt. No. 6.

       On May 13, 2022, this case was related to another case, McDowell v. McDonald’s

Corporation, 1:22-cv-01688, that was pending before Your Honor. Dkt. No. 9. At that time, the

Joint Initial Status Report in McDowell was due on June 14, 2022 (McDowell Dkt. No. 2), but

that deadline was later continued by the Court to June 27, 2022. McDowell Dkt. No. 12.

       Counsel for the McDowell plaintiff and counsel for Plaintiff here have conferred with

counsel for Defendant here and are in agreement that, in the interests of efficiency and judicial

economy, the Parties will stipulate to consolidate the cases, and counsel for both plaintiffs will
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file a Consolidated Amended Complaint in the McDowell action. Counsel are conferring on a

scheduling stipulation to present to the Court in conjunction with their Joint Motion to

Consolidate, which they expect to file shortly. That scheduling stipulation will propose, for the

Court’s consideration, dates (1) for Plaintiffs to file their Consolidated Amended Complaint,

(2) for Defendant to respond, (3) for the Parties to hold their Rule 26(f) meet-and-confer, and

(4) for the Parties to provide the complete Joint Initial Status Report required by the Court.

       The Parties appreciate the Court’s continued attention to these matters.

Dated: June 14, 2022                          Respectfully submitted,

 For Plaintiff Joseph Collora,                       For Defendant McDonald’s Corporation

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